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 PROB 12C                                                                         Report Date: November 29, 2017
(6/16)

                                       United States District Court                                  FILED IN THE
                                                                                                 U.S. DISTRICT COURT
                                                                                           EASTERN DISTRICT OF WASHINGTON

                                                      for the
                                                                                            Nov 29, 2017
                                        Eastern District of Washington                          SEAN F. MCAVOY, CLERK



                  Petition for Warrant or Summons for Offender Under Supervision


 Name of Offender: Mandy Lee Thomason                       Case Number: 0980 2:16CR00198-SMJ-5
 Address of Offender:
 Name of Sentencing Judicial Officer: The Honorable Salvador Mendoza, U.S. District Judge
 Date of Original Sentence: September 28, 2017
 Original Offense:        Conspiracy to Commit Bank Fraud, 18 U.S.C. §§ 1344 & 1349
 Original Sentence:       Prison 201 days;                  Type of Supervision: Supervised Release
                          TSR - 48 days
 Asst. U.S. Attorney:     George J. C. Jacobs, III          Date Supervision Commenced: October 3, 2017
 Defense Attorney:        Federal Defenders Office          Date Supervision Expires: October 2, 2021


                                         PETITIONING THE COURT

To issue a summons.

The probation officer believes that the offender has violated the following condition(s) of supervision:


Violation Number        Nature of Noncompliance

            1           Mandatory Condition # 3: You must refrain from any unlawful use of a controlled
                        substance. You must submit to one drug test within 15 days of release from imprisonment
                        and at least two periodic drug tests thereafter, as determined by the court.

                        Supporting Evidence: On October 5, 2017, Ms. Mandy Thomason signed her conditions
                        of supervision relative to case number 2:16CR00198-SMJ-5, indicating that she understood
                        all conditions as ordered by the Court. Specifically, Ms. Thomason was made aware by her
                        U.S. probation officer of the condition requiring that she refrain from any unlawful use of
                        a controlled substance.

                        On October 18, 2017, Ms. Thomason violated the above-stated condition of supervision by
                        consuming methamphetamine. On the noted date, Ms. Thomason reported to Pioneer
                        Human Services and provided a urine sample which tested presumptively positive for
                        methamphetamine. Ms. Thomason signed an admission of use form in which she admitted
                        to using methamphetamine on or about October 17, 2017. She informed this officer that she
                        went to a friend’s house to pick up clothing, and while there they consumed
                        methamphetamine.
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                     On October 24, 2017, the undersigned officer received confirmation from Alere Inc.
                     verifying that the sample provided by Ms. Thomason on October 18, 2017, was in fact
                     positive for methamphetamine.

                     After failing to appear for phase urinalysis testing at Pioneer Human Services on November
                     20, 2017, this officer conducted an unannounced home visit at Ms. Thomason’s residence
                     on November 22, 2017. During the home visit, Ms. Thomason provided a urine sample
                     which tested presumptively positive for methamphetamine. Ms. Thomason signed a denial
                     of use form denying use of a prohibited controlled substance. Lab confirmation revealed a
                     negative result for illicit substances.
          2          Special Condition # 18: You must undergo a substance abuse evaluation and, if indicated
                     by a licensed/certified treatment provider, enter into and successfully complete an approved
                     substance abuse treatment program, which could include inpatient treatment and aftercare
                     upon further order of the court. You must contribute to the cost of treatment according to
                     your ability to pay. You must allow full reciprocal disclosure between the supervising officer
                     and treatment provider.

                     Supporting Evidence: On October 5, 2017, Ms. Mandy Thomason signed her conditions
                     of supervision relative to case number 2:16CR00198-SMJ-5, indicating that she understood
                     all conditions as ordered by the Court. Specifically, Ms. Thomason was made aware by her
                     U.S. probation officer of the condition requiring that she refrain from any unlawful use of
                     a controlled substance.

                     On November 22, 2017, this officer was notified by the contracted treatment provider that
                     Ms. Thomason violated the above-stated condition of supervision by failing to report for
                     substance abuse treatment at Pioneer Human Services on November 13, 15, 17 and 20, 2017.

                     On October 18, 2017, Ms. Thomason completed a substance abuse assessment at Pioneer
                     Human Services as required by the Court. Based on that assessment, Ms. Thomason was
                     enrolled in intensive outpatient treatment and required to attend sessions three times per
                     week.

The U.S. Probation Office respectfully recommends the Court issue a summons requiring the offender to appear
to answer to the allegation(s) contained in this petition.



                                        I declare under penalty of perjury that the foregoing is true and correct.
                                                          Executed on:      11/29/2017
                                                                            s/Amber M.K. Andrade
                                                                            Amber M.K. Andrade
                                                                            U.S. Probation Officer
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 THE COURT ORDERS

 [ ]      No Action
 [ ]      The Issuance of a Warrant
 [X ]     The Issuance of a Summons
 [ ]      Other

                                                               Signature
                                                                ignature of Judicial Officer

                                                                      11/29/2017
                                                               Date
